                   Case 18-12764                     Doc 60             Filed 09/14/18 Entered 09/14/18 16:22:47                                                 Desc Main
                                                                         Document     Page 1 of 71
              Fill in this information to identify your case:

 Debtor 1                   Timothy John Kilroy
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              20,953.84

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              20,953.84

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             538,655.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                1,856.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             280,445.00


                                                                                                                                     Your total liabilities $                   820,956.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $              10,486.95

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $              21,120.02

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                             Document     Page 2 of 71
 Debtor 1     Kilroy, Timothy John                                                           Case number (if known) 1:18-bk-12764

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $     7,637.81


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,856.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 1,856.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                   Case 18-12764                       Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                       Desc Main
                                                                          Document     Page 3 of 71
               Fill in this information to identify your case and this filing:

 Debtor 1                    Timothy John Kilroy
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number            1:18-bk-12764                                                                                                                         Check if this is an
                                                                                                                                                               amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                   12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        9 Library Street
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the        Current value of the
        Dryden                            NY        13053                          Land                                       entire property?            portion you own?
        City                              State          ZIP Code              Investment property                                  $259,119.00                           $0.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                               At least one of the debtors and another           (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Rental: Single Family House Dryden Ny


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                                  $0.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                 Case 18-12764                 Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                    Desc Main
                                                               Document     Page 4 of 71
 Debtor 1         Kilroy, Timothy John                                                                         Case number (if known)     1:18-bk-12764
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:      Nissan                                  Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     NV200 Cargo Van                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      2016                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 30600          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                 At least one of the debtors and another
        NV 3500 Passenger Van
                                                             Check if this is community property                              $27,423.00                        $0.00
                                                               (see instructions)



  3.2    Make:      Fiat                                    Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     500                                     Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:      2013                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 60000          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                                $8,214.00                 $4,928.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                 $4,928.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Household: King Size Bed, Mattress & Boxspring                                                                               $75.00

                                   Household: Desk                                                                                                              $10.00

                                   Household: Dishwasher                                                                                                       $150.00

                                   Household: Dresser                                                                                                           $25.00

                                   Household: Cabinets                                                                                                          $25.00

                                   Household: Loft Bed + Mattress                                                                                               $25.00

                                   Household: Loft Bed + Mattress                                                                                               $25.00

                                   Household: Bookshelf                                                                                                           $5.00



Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47             Desc Main
                                                             Document     Page 5 of 71
 Debtor 1       Kilroy, Timothy John                                                    Case number (if known)   1:18-bk-12764

                                   Household: Twin Bed & Mattress                                                                 $25.00

                                   Household: Armoire                                                                             $12.50

                                   Household: Chair                                                                                $5.00

                                   Household: Twin Bed & Mattress                                                                 $25.00

                                   Household: Desk                                                                                $12.50

                                   Household: Bookshelf                                                                            $5.00

                                   Household: Lamp                                                                                 $5.00

                                   Household: Twin Bed & Mattress                                                                 $25.00

                                   Household: Desk                                                                                $10.00

                                   Household: Nightstand                                                                          $10.00

                                   Household: Chair                                                                               $25.00

                                   Household: Rug                                                                                 $12.50

                                   Household: Bookshelves                                                                         $37.50

                                   Household: Couch (Broken)                                                                      $25.00

                                   Household: Table & Chairs                                                                      $50.00

                                   Household: Bbq                                                                                 $37.50

                                   Household: Stools (5)                                                                          $50.00

                                   Household: End Table                                                                           $12.50

                                   Household: Nightstands (4)                                                                     $30.00

                                   Household: Coffee Table                                                                         $7.50

                                   Household: Wire Shelves                                                                         $7.50

                                   Household: Washer/dryer                                                                       $150.00

                                   Household: Espresso Machine                                                                    $50.00

                                   Household: Pots & Pans                                                                         $50.00

                                   Household: Microwave                                                                           $25.00

                                   Household: Silverware                                                                          $12.50

                                   Household: Plates & Bowls                                                                      $25.00

                                   Household: Glasses & Mugs                                                                      $12.50

                                   Household: Baking Tables                                                                      $100.00

                                   Household: Knives                                                                              $37.50

                                   Household: Table                                                                               $25.00


Official Form 106A/B                                           Schedule A/B: Property                                              page 3
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                                Desc Main
                                                             Document     Page 6 of 71
 Debtor 1       Kilroy, Timothy John                                                                    Case number (if known)     1:18-bk-12764

                                   Household: Chairs                                                                                                     $62.50

                                   Household: Sideboard                                                                                                  $50.00

                                   Household: Hutch                                                                                                      $50.00

                                   Household: Hutch                                                                                                      $37.50

                                   Household: Sofa                                                                                                       $50.00

                                   Household: Loveseat                                                                                                   $12.50

                                   Household: Armchair                                                                                                   $20.00

                                   Household: Armchair                                                                                                   $20.00

                                   Household: Rug                                                                                                        $12.50

                                   Household: Couch (Broken)                                                                                             $12.50

                                   Household: Ottoman                                                                                                    $10.00

                                   Household: Tv Stand                                                                                                   $12.50


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   Electronics: Tv 1                                                                                                     $50.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.     Describe.....
                                   Sports-Hobby: Ping Pong Table                                                                                        $100.00

                                   Sports-Hobby: Arcade Basketball                                                                                       $25.00

                                   Sports-Hobby: Bikes - Adult (3)                                                                                      $135.00

                                   Sports-Hobby: Bikes - Kids (2)                                                                                        $20.00

                                   Sports-Hobby: Baseball Equipment                                                                                      $50.00

                                   Sports-Hobby: Bowflex                                                                                                $125.00

                                   Sports-Hobby: Treadmill (Broken)                                                                                      $25.00

                                   Sports-Hobby: Horseback Riding (Helmets, Bridles)                                                                     $75.00

                                   Sports-Hobby: Electric Piano & Bench                                                                                 $150.00



Official Form 106A/B                                           Schedule A/B: Property                                                                       page 4
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                  Case 18-12764                            Doc 60                Filed 09/14/18 Entered 09/14/18 16:22:47                            Desc Main
                                                                                  Document     Page 7 of 71
 Debtor 1          Kilroy, Timothy John                                                                                     Case number (if known)   1:18-bk-12764
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Clothes: Suit                                                                                                             $150.00

                                            Clothes: Shirts (10)                                                                                                      $200.00

                                            Clothes: Pants (6)                                                                                                        $120.00

                                            Clothes: Belts (2)                                                                                                          $10.00

                                            Clothes: Underwear & Socks                                                                                                  $10.00

                                            Clothes: Blazer                                                                                                             $40.00

                                            Clothes: Outerwear (4)                                                                                                    $100.00

                                            Clothes: Sweaters (5)                                                                                                       $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
    Yes.        Describe.....
                                            Animals: Dog                                                                                                                $12.50


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                               $3,055.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:



Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 5
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                Case 18-12764                    Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                Desc Main
                                                                 Document     Page 8 of 71
 Debtor 1        Kilroy, Timothy John                                                                         Case number (if known)    1:18-bk-12764


                                        17.1.                              Checking Account: Capital One (Ends 9676)                                     $367.04

                                                                           Checking Account: Bank Of America (Ends
                                        17.2.                              3253)                                                                           $0.00



                                        17.3.                              Savings Account: Capital One (Ends 5667)                                        $0.41

                                                                           Other: Bank Of America Rewards Money
                                        17.4.                              Market Savings Account Ending In 7307                                           $0.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
   Yes..................           Institution or issuer name:
                                                Financial Account: Capital One (Ends 2842)                                                                 $0.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
    Yes.      Give specific information about them...................
                                     Name of entity:                                                            % of ownership:
                                           Private Stock: Adchemix, Inc.                                                          %                        $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                   Institution name:
                                                                           Retirement: Capital One (Ends In 2840)                                       $1,424.39


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...


Official Form 106A/B                                                  Schedule A/B: Property                                                                page 6
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                             Desc Main
                                                             Document     Page 9 of 71
 Debtor 1       Kilroy, Timothy John                                                                    Case number (if known)   1:18-bk-12764
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes.     Give specific information about them...
                                            Intellectual: Adchemix.com Domain                                                                        $1.00

                                            Intellectual: Arlingtontshirt.com Domain                                                                 $1.00

                                            Intellectual: Charlottekilroy.com Domain                                                                 $1.00

                                            Intellectual: Authorbooklists.com Domain                                                                 $1.00

                                            Intellectual: Discountsuperstore.co Domain                                                               $1.00

                                            Intellectual: Easycreditcarloan.ca Domain                                                                $1.00

                                            Intellectual: Getyourhustleonpodcast.com Domain                                                          $1.00

                                            Intellectual: Grayladycapital.com Domain                                                                 $1.00

                                            Intellectual: Greyladycapital.com Domain                                                                 $1.00

                                            Intellectual: Greyladypartners.com Domain                                                                $1.00

                                            Intellectual: Huntforanseo.com Domain                                                                    $1.00

                                            Intellectual: Insurancetrekker.com Domain                                                                $1.00

                                            Intellectual: Juliacooks.com Domain                                                                      $1.00

                                            Intellectual: Klry.co Domain                                                                             $1.00

                                            Intellectual: Microdermabrasiontools.com Domain                                                          $1.00

                                            Intellectual: Nursingcareerpaths.com Domain                                                              $1.00

                                            Intellectual: Ourwhitewhale.us Domain                                                                    $1.00

                                            Intellectual: Pickthebestagency.com Domain                                                               $1.00

                                            Intellectual: Paidsearchfinder.com Domain                                                                $1.00


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......


Official Form 106A/B                                           Schedule A/B: Property                                                                 page 7
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                Case 18-12764                      Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                              Desc Main
                                                                      Document     Page 10 of 71
 Debtor 1        Kilroy, Timothy John                                                                                       Case number (if known)         1:18-bk-12764

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:
                                           Insurance: Renters Insurance                                                                                                        $0.00

                                           Insurance: Homeowners Insurance                                                                                                     $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes.      Describe each claim.........
                                                        $5000 security deposit and $5000 in last months rent (total
                                                        $10000) held by landlord 40 Hutchinson Raod Realty Trust                                                           $5,000.00

                                                        Tenants at 9 Library Street allegedly have four (4) plus
                                                        months rent of approximately $10000 held in a trust account
                                                        by their bankruptcy attorney                                                                                       $5,000.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................            $11,810.84

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 8
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                  Case 18-12764                        Doc 60               Filed 09/14/18 Entered 09/14/18 16:22:47                                                 Desc Main
                                                                             Document     Page 11 of 71
 Debtor 1         Kilroy, Timothy John                                                                                                  Case number (if known)   1:18-bk-12764

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........
                                               Electronics: Sonos (3)                                                                                                             $75.00

                                               Electronics: Tv 2                                                                                                                  $50.00

                                               Electronics: Apple Tv 1                                                                                                            $12.50

                                               Electronics: Apple Tv 2                                                                                                            $12.50

                                               Electronics: Roku                                                                                                                   $5.00

                                               Electronics: Laptop                                                                                                               $125.00

                                               Electronics: Monitors                                                                                                              $50.00

                                               Electronics: Laptop                                                                                                               $125.00

                                               Electronics: Chromebooks (3)                                                                                                      $105.00

                                               Electronics: Cell Phones (5)                                                                                                      $600.00


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $1,160.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
 56. Part 2: Total vehicles, line 5                                                                            $4,928.00
 57. Part 3: Total personal and household items, line 15                                                       $3,055.00
 58. Part 4: Total financial assets, line 36                                                                  $11,810.84
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +            $1,160.00

 62. Total personal property. Add lines 56 through 61...                                                      $20,953.84              Copy personal property total           $20,953.84

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $20,953.84




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 9
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                   Case 18-12764               Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                 Desc Main
                                                                  Document     Page 12 of 71
              Fill in this information to identify your case:

 Debtor 1                 Timothy John Kilroy
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      Fiat                                                                                                                        MGLA c.235 § 34(16)
      500
                                                                      $4,928.00                                    $4,928.00
      2013                                                                                   100% of fair market value, up to
      60000                                                                                   any applicable statutory limit
      Line from Schedule A/B: 3.2

      Household: King Size Bed, Mattress                                   $75.00                                                MGLA c.235 § 34(1)
      & Boxspring
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      Household: Desk                                                                                                             MGLA c.235 § 34(2)
      Line from Schedule A/B: 6.2
                                                                           $10.00                                     $10.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Household: Dishwasher                                                                                                       MGLA c.235 § 34(2)
      Line from Schedule A/B: 6.3
                                                                          $150.00                                    $150.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Household: Dresser                                                                                                          MGLA c.235 § 34(2)
      Line from Schedule A/B: 6.4
                                                                           $25.00                                     $25.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                          page 1 of 10
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 13 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Household: Cabinets                                                                                                    MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.5
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Loft Bed + Mattress                                    $25.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 6.6
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Loft Bed + Mattress                                    $25.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 6.7
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Bookshelf                                                                                                   MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.8
                                                                         $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Twin Bed & Mattress                                    $25.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 6.9
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Armoire                                                                                                     MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.10
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Chair                                                                                                       MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.11
                                                                         $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Twin Bed & Mattress                                    $25.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 6.12
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Desk                                                                                                        MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.13
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Bookshelf                                                                                                   MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.14
                                                                         $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Lamp                                                                                                        MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.15
                                                                         $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Twin Bed & Mattress                                    $25.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 6.16
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 2 of 10
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 14 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Household: Desk                                                                                                        MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.17
                                                                       $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Nightstand                                                                                                  MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.18
                                                                       $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Chair                                                                                                       MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.19
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Rug                                                                                                         MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.20
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Bookshelves                                                                                                 MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.21
                                                                       $37.50                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Couch (Broken)                                                                                              MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.22
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Table & Chairs                                                                                              MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.23
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Bbq                                                                                                         MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.24
                                                                       $37.50                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Stools (5)                                                                                                  MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.25
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: End Table                                                                                                   MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.26
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Nightstands (4)                                                                                             MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.27
                                                                       $30.00                                   $30.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Coffee Table                                                                                                MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.28
                                                                         $7.50                                    $7.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 3 of 10
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 15 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Household: Wire Shelves                                                                                                MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.29
                                                                         $7.50                                    $7.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Washer/dryer                                                                                                MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.30
                                                                      $150.00                                  $150.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Espresso Machine                                                                                            MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.31
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Pots & Pans                                                                                                 MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.32
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Microwave                                                                                                   MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.33
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Silverware                                                                                                  MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.34
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Plates & Bowls                                                                                              MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.35
                                                                       $25.00                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Glasses & Mugs                                                                                              MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.36
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Baking Tables                                                                                               MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.37
                                                                      $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Knives                                                                                                      MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.38
                                                                       $37.50                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Table                                                                                                       MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.39
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Chairs                                                                                                      MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.40
                                                                       $62.50                                   $62.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 4 of 10
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 16 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Household: Sideboard                                                                                                   MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.41
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Hutch                                                                                                       MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.42
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Hutch                                                                                                       MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.43
                                                                       $37.50                                   $37.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Sofa                                                                                                        MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.44
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Loveseat                                                                                                    MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.45
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Armchair                                                                                                    MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.46
                                                                       $20.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Armchair                                                                                                    MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.47
                                                                       $20.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Rug                                                                                                         MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.48
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Couch (Broken)                                                                                              MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.49
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Ottoman                                                                                                     MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.50
                                                                       $10.00                                   $10.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Household: Tv Stand                                                                                                    MGLA c.235 § 34(2)
     Line from Schedule A/B: 6.51
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Tv 1                                                                                                      MGLA c.235 § 34(12)
     Line from Schedule A/B: 7.1
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 5 of 10
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 17 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Sports-Hobby: Ping Pong Table                                                                                          MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.1
                                                                      $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Arcade Basketball                                                                                        MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.2
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Bikes - Adult (3)                                                                                        MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.3
                                                                      $135.00                                  $135.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Bikes - Kids (2)                                                                                         MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.4
                                                                       $20.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Baseball Equipment                                                                                       MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.5
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Bowflex                                                                                                  MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.6
                                                                      $125.00                                  $125.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Treadmill (Broken)                                                                                       MGLA c. 235 § 34(17)
     Line from Schedule A/B: 9.7
                                                                       $25.00                                   $25.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Horseback Riding                                                                                         MGLA c. 235 § 34(17)
     (Helmets, Bridles)
                                                                       $75.00                                   $75.00
     Line from Schedule A/B: 9.8                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Sports-Hobby: Electric Piano &                                                                                         MGLA c. 235 § 34(17)
     Bench
                                                                      $150.00                                  $150.00
     Line from Schedule A/B: 9.9                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Suit                                                    $150.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Shirts (10)                                             $200.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.2
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Pants (6)                                               $120.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.3
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 6 of 10
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 18 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Clothes: Belts (2)                                                $10.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.4
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Underwear & Socks                                        $10.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.5
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Blazer                                                   $40.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.6
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Outerwear (4)                                           $100.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.7
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothes: Sweaters (5)                                             $50.00                                              MGLA c.235 § 34(1)
     Line from Schedule A/B: 11.8
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Animals: Dog                                                                                                           MGLA c. 235 § 34(17)
     Line from Schedule A/B: 13.1
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Checking Account: Capital One                                                                                          MGLA c.235 § 34(15)
     (Ends 9676)
                                                                      $367.04                                  $367.04
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Savings Account: Capital One (Ends                                                                                     MGLA c.235 § 34(15)
     5667)
                                                                         $0.41                                    $0.41
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Retirement: Capital One (Ends In                              $1,424.39                                               MGLA c.235 § 34A
     2840)
     Line from Schedule A/B: 21.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Adchemix.com Domain                                                                                      MGLA c. 235 § 34(17)
     Line from Schedule A/B: 26.1
                                                                         $1.00                                    $1.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Arlingtontshirt.com                                                                                      MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Charlottekilroy.com                                                                                      MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 7 of 10
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 19 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Intellectual: Authorbooklists.com                                                                                      MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.4                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Discountsuperstore.co                                                                                    MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.5                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Easycreditcarloan.ca                                                                                     MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.6                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual:                                                                                                          MGLA c. 235 § 34(17)
     Getyourhustleonpodcast.com
                                                                         $1.00                                    $1.00
     Domain                                                                            100% of fair market value, up to
     Line from Schedule A/B: 26.7                                                       any applicable statutory limit

     Intellectual: Grayladycapital.com                                                                                      MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.8                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Greyladycapital.com                                                                                      MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.9                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Greyladypartners.com                                                                                     MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.10                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Huntforanseo.com                                                                                         MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.11                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Insurancetrekker.com                                                                                     MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.12                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Juliacooks.com Domain                                                                                    MGLA c. 235 § 34(17)
     Line from Schedule A/B: 26.13
                                                                         $1.00                                    $1.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Klry.co Domain                                                                                           MGLA c. 235 § 34(17)
     Line from Schedule A/B: 26.14
                                                                         $1.00                                    $1.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual:                                                                                                          MGLA c. 235 § 34(17)
     Microdermabrasiontools.com
                                                                         $1.00                                    $1.00
     Domain                                                                            100% of fair market value, up to
     Line from Schedule A/B: 26.15                                                      any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 8 of 10
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 20 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Intellectual:                                                                                                          MGLA c. 235 § 34(17)
     Nursingcareerpaths.com Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.16                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Ourwhitewhale.us                                                                                         MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.17                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Pickthebestagency.com                                                                                    MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.18                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     Intellectual: Paidsearchfinder.com                                                                                     MGLA c. 235 § 34(17)
     Domain
                                                                         $1.00                                    $1.00
     Line from Schedule A/B: 26.19                                                     100% of fair market value, up to
                                                                                        any applicable statutory limit

     $5000 security deposit and $5000 in                                                                                    MGLA c.235 § 34(15)
     last months rent (total $10000) held
                                                                   $5,000.00                                 $2,132.55
     by landlord 40 Hutchinson Raod                                                    100% of fair market value, up to
     Realty Trust                                                                       any applicable statutory limit
     Line from Schedule A/B: 33.1

     $5000 security deposit and $5000 in                                                                                    MGLA c.235 § 34(14)
     last months rent (total $10000) held
                                                                   $5,000.00                                 $2,500.00
     by landlord 40 Hutchinson Raod                                                    100% of fair market value, up to
     Realty Trust                                                                       any applicable statutory limit
     Line from Schedule A/B: 33.1

     $5000 security deposit and $5000 in                                                                                    MGLA c. 235 § 34(17)
     last months rent (total $10000) held
                                                                   $5,000.00                                   $367.45
     by landlord 40 Hutchinson Raod                                                    100% of fair market value, up to
     Realty Trust                                                                       any applicable statutory limit
     Line from Schedule A/B: 33.1

     Tenants at 9 Library Street allegedly                                                                                  MGLA c. 235 § 34(17)
     have four (4) plus months rent of
                                                                   $5,000.00                                 $3,861.05
     approximately $10000 held in a trust                                              100% of fair market value, up to
     account by their bankruptcy attorney                                               any applicable statutory limit
     Line from Schedule A/B: 33.2

     Tenants at 9 Library Street allegedly                                                                                  MGLA c. 246 § 28(a)
     have four (4) plus months rent of
                                                                   $5,000.00                                 $2,500.00
     approximately $10000 held in a trust                                              100% of fair market value, up to
     account by their bankruptcy attorney                                               any applicable statutory limit
     Line from Schedule A/B: 33.2

     Electronics: Sonos (3)                                                                                                 MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.1
                                                                       $75.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Tv 2                                                                                                      MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.2
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 9 of 10
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                Case 18-12764                  Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                               Document     Page 21 of 71
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Electronics: Apple Tv 1                                                                                                MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.3
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Apple Tv 2                                                                                                MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.4
                                                                       $12.50                                   $12.50
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Roku                                                                                                      MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.5
                                                                         $5.00                                    $5.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Laptop                                              $125.00                                              MGLA c.235 § 34(12)
     Line from Schedule A/B: 53.6
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Monitors                                                                                                  MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.7
                                                                       $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Laptop                                                                                                    MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.8
                                                                      $125.00                                  $125.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Chromebooks (3)                                                                                           MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.9
                                                                      $105.00                                  $105.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Electronics: Cell Phones (5)                                                                                           MGLA c. 235 § 34(17)
     Line from Schedule A/B: 53.10
                                                                      $600.00                                  $600.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   page 10 of 10
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                   Case 18-12764                  Doc 60           Filed 09/14/18 Entered 09/14/18 16:22:47                                    Desc Main
                                                                    Document     Page 22 of 71
              Fill in this information to identify your case:

 Debtor 1                   Timothy John Kilroy
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:                  $3,286.00                 $8,214.00                    $0.00
         Creditor's Name
                                                  2013 Fiat 500 500 Abarth

         Attn: Bankruptcy                         As of the date you file, the claim is: Check all that
         PO Box 982238                            apply.
         El Paso, TX 79998-2238                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2014-10                   Last 4 digits of account number        4966

 2.2     Bank of America                          Describe the property that secures the claim:                         $0.00                   $0.00                   $0.00
         Creditor's Name



         Attn: Bankruptcy                         As of the date you file, the claim is: Check all that
         PO Box 982238                            apply.
         El Paso, TX 79998-2238                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2008-11-07                Last 4 digits of account number        8121


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 5
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                Case 18-12764                    Doc 60             Filed 09/14/18 Entered 09/14/18 16:22:47                             Desc Main
                                                                     Document     Page 23 of 71
 Debtor 1 Timothy John Kilroy                                                                              Case number (if know)   1:18-bk-12764
              First Name                  Middle Name                     Last Name


 2.3    Bank of America                            Describe the property that secures the claim:                        $0.00             $0.00          $0.00
        Creditor's Name



        Attn: Bankruptcy                           As of the date you file, the claim is: Check all that
        PO Box 982238                              apply.
        El Paso, TX 79998-2238                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2005-08                     Last 4 digits of account number        8189

        Capital One Auto
 2.4                                               Describe the property that secures the claim:                        $0.00             $0.00          $0.00
        Finance
        Creditor's Name

        Attn: Bankruptcy
        PO Box 30285                               As of the date you file, the claim is: Check all that
        Salt Lake City, UT                         apply.
        84130-0285                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2008-12                     Last 4 digits of account number        1001

        Chrysler Financial/Td
 2.5                                               Describe the property that secures the claim:                        $0.00             $0.00          $0.00
        Auto Finance
        Creditor's Name

        Attn: Bankruptcy
        PO Box 9223                                As of the date you file, the claim is: Check all that
        Farmington Hills, MI                       apply.
        48333-9223                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2013-12                     Last 4 digits of account number        3796

 2.6    Mr. Cooper                                 Describe the property that secures the claim:                $215,369.00               $0.00    $215,369.00
        Creditor's Name


Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 5
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                Case 18-12764                    Doc 60             Filed 09/14/18 Entered 09/14/18 16:22:47                             Desc Main
                                                                     Document     Page 24 of 71
 Debtor 1 Timothy John Kilroy                                                                              Case number (if know)   1:18-bk-12764
              First Name                  Middle Name                     Last Name


        Attn: Bankruptcy
        8950 Cypress Waters                        As of the date you file, the claim is: Check all that
        Blvd                                       apply.
        Coppell, TX 75019-4620                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2008-11                     Last 4 digits of account number        1349

 2.7    Nationstar Mortgage                        Describe the property that secures the claim:                $290,000.00         $259,119.00    $30,881.00
        Creditor's Name
                                                   9 Library Street Dryden, NY 13053

        8950 Cypress Waters                        As of the date you file, the claim is: Check all that
        Blvd                                       apply.
        Coppell, TX 75019-4620                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        Santander Consumer
 2.8                                               Describe the property that secures the claim:                 $30,000.00          $27,423.00     $2,577.00
        USA
        Creditor's Name
                                                   2016 Nissan Passenger NV

        PO Box 961245                              As of the date you file, the claim is: Check all that
        Fort Worth, TX                             apply.
        76161-0244                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         11/2016                     Last 4 digits of account number        1000

 2.9    Wells Fargo Home Mor                       Describe the property that secures the claim:                        $0.00             $0.00         $0.00
        Creditor's Name
        Attn: Bankruptcy
        Department
                                     As of the date you file, the claim is: Check all that
        8480 Stagecoach Cir          apply.
        Frederick, MD
Official21701-4747
         Form 106D        Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                page 3 of 5
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               Case 18-12764                    Doc 60             Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                                    Document     Page 25 of 71
 Debtor 1 Timothy John Kilroy                                                                            Case number (if know)          1:18-bk-12764
             First Name                  Middle Name                    Last Name


                                                   Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
     community debt

 Date debt was incurred        2012-05                    Last 4 digits of account number       9054


 Add the dollar value of your entries in Column A on this page. Write that number here:                               $538,655.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $538,655.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.


        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
        Bank of America, N.A
        4909 Savarese Cir                                                                        Last 4 digits of account number   4966
        Tampa, FL 33634-2413

        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.2
        Bank of America, N.A
        4909 Savarese Cir                                                                        Last 4 digits of account number   8121
        Tampa, FL 33634-2413

        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.3
        Bank of America, N.A
        4909 Savarese Cir                                                                        Last 4 digits of account number   8189
        Tampa, FL 33634-2413

        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.4
        Capital One Auto Finan
        3901 Dallas Pkwy                                                                         Last 4 digits of account number   1001
        Plano, TX 75093-7864

        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.7
        Mr. Cooper/Nationstar
        8950 Cypress Waters Blvd                                                                 Last 4 digits of account number
        Coppell, TX 75019-4620

        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.6
        Nationstar/mr Cooper
        350 Highland Dr                                                                          Last 4 digits of account number   1349
        Lewisville, TX 75067-4177

        Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.7
        RAS Boriskin, LLC
        900 Merchants Concourse Ste 106                                                          Last 4 digits of account number
        Westbury, NY 11590-5114

Official Form 106D                    Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                            page 4 of 5
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               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                              Desc Main
                                                             Document     Page 26 of 71
 Debtor 1 Timothy John Kilroy                                                             Case number (if know)          1:18-bk-12764
             First Name                Middle Name             Last Name




        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.5
        Td Auto Finance
        PO Box 9223                                                               Last 4 digits of account number   3796
        Farmington, MI 48333-9223

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.9
        Wells Fargo Hm Mortgag
        8480 Stagecoach Cir                                                       Last 4 digits of account number   9054
        Frederick, MD 21701-4747




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                               page 5 of 5
Software Copyright (c) 2018 CINGroup - www.cincompass.com
                   Case 18-12764                  Doc 60           Filed 09/14/18 Entered 09/14/18 16:22:47                                            Desc Main
                                                                    Document     Page 27 of 71
      Fill in this information to identify your case:

 Debtor 1                   Timothy John Kilroy
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
              Massachusetts Department of
 2.1          Revenue                                              Last 4 digits of account number                           $1,115.00             $1,115.00                    $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?             2015
              PO Box 9564
              Boston, MA 02114-9564
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com                                                           G37162
                Case 18-12764                    Doc 60           Filed 09/14/18 Entered 09/14/18 16:22:47                                           Desc Main
                                                                   Document     Page 28 of 71
 Debtor 1 Kilroy, Timothy John                                                                              Case number (if know)          1:18-bk-12764

            NY State Dept of Taxation-
 2.2        Bankruptcy                                            Last 4 digits of account number       2409                  $741.00                $741.00                   $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?           2017-01
            PO Box 5300
            Albany, NY 12205-0300
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                          Income Tax

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        40 Hutchinson Road Realty Trust                          Last 4 digits of account number         Road                                                     $60,000.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            59 Union Sq
            Somerville, MA 02143-3032
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                                                                      Student loans
             Check if this claim is for a    community
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                     Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 29 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.2      Access Group Inc                                      Last 4 digits of account number       2499                                                 $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           1999-10
          10 N High St Ste 400
          West Chester, PA 19380-3014
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.3      Access Group Inc                                      Last 4 digits of account number       2399                                                 $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           1999-10
          10 N High St Ste 400
          West Chester, PA 19380-3014
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.4      Bank of America                                       Last 4 digits of account number       3681                                                 $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-09
          4909 Savarese Cir
          Tampa, FL 33634-2413
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 30 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.5      Bank of America                                       Last 4 digits of account number       7609                                                 $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2006-03-30
          PO Box 982238
          El Paso, TX 79998-2238
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.6      Bank of America Business Card                         Last 4 digits of account number       5224                                            $17,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 15710
          Wilmington, DE 19850-5710
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.7      Bluevine, Inc.                                        Last 4 digits of account number       0026                                            $32,500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          401 Warren St Ste 300
          Redwood City, CA 94063-1578
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 31 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.8      Cambridge Foot and Ankle                              Last 4 digits of account number                                                          $791.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          725 Concord Ave Ste 3600
          Cambridge, MA 02138-1082
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.9      Capital One                                           Last 4 digits of account number       2268                                            $1,200.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.10     Capital One Attn: Bankruptcy                          Last 4 digits of account number       2789                                            $3,100.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 32 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.11     Capital One NA                                        Last 4 digits of account number       0194                                                 $0.00
          Nonpriority Creditor's Name
          Attn: General                                         When was the debt incurred?           2006-04
          Correspondence/Bankruptcy
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.12     Citibank/the Home Depot                               Last 4 digits of account number       4823                                               $300.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized                            When was the debt incurred?           2006-10-25
          Bankruptcy
          PO Box 790034
          Saint Louis, MO 63179-0034
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.13     Citibank/the Home Depot                               Last 4 digits of account number       3047                                                 $0.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized                            When was the debt incurred?           2006-10
          Bankruptcy
          PO Box 790034
          Saint Louis, MO 63179-0034
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 17
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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 33 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.14     Conduent/Chela                                        Last 4 digits of account number       2971                                                 $0.00
          Nonpriority Creditor's Name
          Attn: Claims Department                               When was the debt incurred?           1999-10
          PO Box 7051
          Utica, NY 13504-7051
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.15     Cross River Bank                                      Last 4 digits of account number       9336                                            $14,135.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          400 Kelby St
          Fort Lee, NJ 07024-2943
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

          Dealstruck LLC d/b/a
 4.16     MyBusinessLoans.com                                   Last 4 digits of account number                                                       $23,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1901 Camino Vida Roble
          Carlsbad, CA 92008-6559
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 34 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.17     Department of Treasury - IRS                          Last 4 digits of account number                                                       $16,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1040 Waverly Ave
          Holtsville, NY 11742-1129
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Government


 4.18     Discover Financial                                    Last 4 digits of account number       4068                                            $22,129.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           1996-04-05
          PO Box 3025
          New Albany, OH 43054-3025
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.19     First Premier Bank                                    Last 4 digits of account number       6688                                                 $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          601 S Minnesota Ave
          Sioux Falls, SD 57104-4824
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 35 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.20     Fundbox                                               Last 4 digits of account number       6796                                            $12,190.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          785 Market St Ste 600
          San Francisco, CA 94103-2013
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.21     KHESLC                                                Last 4 digits of account number       9499                                                 $0.00
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                 When was the debt incurred?           1999-10
          PO Box 798
          Frankfort, KY 40602-0798
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.22     KHESLC                                                Last 4 digits of account number       9599                                                 $0.00
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                 When was the debt incurred?           1999-10
          PO Box 798
          Frankfort, KY 40602-0798
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 36 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.23     Kris Coward                                           Last 4 digits of account number       emix                                            $16,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.24     Lending Club Corp                                     Last 4 digits of account number       6134                                                  $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-06
          71 Stevenson St Ste 300
          San Francisco, CA 94105-2985
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.25     Leon Newhart                                          Last 4 digits of account number       reet                                             $5,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           11/15/2008
          155 Westhaven Rd
          Ithaca, NY 14850-3025
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 37 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.26     Loandepot                                             Last 4 digits of account number       9336                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                 When was the debt incurred?           2015-11
          PO Box 250009
          Plano, TX 75025-0009
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.27     Mary Kilroy                                           Last 4 digits of account number                                                       $5,500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           June 2018
          98 Fisher St
          Westborough, MA 01581-3327
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.28     Melvin & Melvin                                       Last 4 digits of account number                                                       $1,100.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          217 S Salina St Fl 7
          Syracuse, NY 13202-1501
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 11 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 38 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.29     MyBusinessLoans.com                                   Last 4 digits of account number       9039                                            $33,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1901 Camino Vida Roble Ste 120
          Carlsbad, CA 92008-6560
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.30     Phil Kelahan                                          Last 4 digits of account number                                                        $1,500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           6/18
          4 River Field Path
          Hooksett, NH 03106-2619
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.31     Prosper Marketplace Inc                               Last 4 digits of account number       3741                                                  $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-04
          PO Box 396081
          San Francisco, CA 94139-6081
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                               Document     Page 39 of 71
 Debtor 1 Kilroy, Timothy John                                                                       Case number (if know)            1:18-bk-12764

 4.32     Synchrony Bank/Amazon                                 Last 4 digits of account number       9353                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                 When was the debt incurred?           2012-11-09
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.33     Td Bank USA/Targetcred                                Last 4 digits of account number       8334                                                  $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-12
          PO Box 673
          Minneapolis, MN 55440-0673
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.34     Velocity INVESTMENTS LLC                              Last 4 digits of account number                                                       $16,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1800 NJ-34 # 404A
          Wall Township, NJ 07719
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 13 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                       Desc Main
                                                                Document     Page 40 of 71
 Debtor 1 Kilroy, Timothy John                                                                           Case number (if know)          1:18-bk-12764

           Visa Dept Store National
 4.35      Bank/Macy's                                            Last 4 digits of account number         2250                                                   $0.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                       When was the debt incurred?             2007-06-09
           PO Box 8053
           Mason, OH 45040-8053
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Revolving account


 4.36      Wells Fargo Bank                                       Last 4 digits of account number         0001                                                   $0.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                  When was the debt incurred?             2014-09
           PO Box 6429
           Greenville, SC 29606-6429
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Installment account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Access Group, Inc.                                         Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 10 N High St Ste 400                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 West Chester, PA 19380-3014
                                                            Last 4 digits of account number                    2499
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Access Group, Inc.                                         Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 10 N High St Ste 400                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 West Chester, PA 19380-3014
                                                            Last 4 digits of account number                    2399
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                            Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 982238                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-2238
                                                            Last 4 digits of account number                    3681
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?



Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 14 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                       Desc Main
                                                                Document     Page 41 of 71
 Debtor 1 Kilroy, Timothy John                                                                           Case number (if know)       1:18-bk-12764
 Bank of America                                            Line 4.5 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 PO Box 982238                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-2238
                                                            Last 4 digits of account number                    7609
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 BARR Credit Services                                       Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 5151 E Broadway Blvd Ste 800                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Tucson, AZ 85711-3775
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 BARR Credit Services                                       Line 4.29 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 5151 E Broadway Blvd Ste 800                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Tucson, AZ 85711-3775
                                                            Last 4 digits of account number                    9039
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA                                       Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238-1119
                                                            Last 4 digits of account number                    2789
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA                                       Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238-1119
                                                            Last 4 digits of account number                    2268
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One National                                       Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 26625                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23261-6625
                                                            Last 4 digits of account number                    0194
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Ces/700212                                                 Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 501 Bleecker St                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Utica, NY 13501-2401
                                                            Last 4 digits of account number                    2971
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Charlene Colt                                              Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 331 Belmont St                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Belmont, MA 02478-3412
                                                            Last 4 digits of account number                    Road
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Bank                                              Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 15316                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5316
                                                            Last 4 digits of account number                    4068
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Financial Recovery Services                                Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 385908                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55438-5908
                                                            Last 4 digits of account number                    9336
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Kream & Kream                                              Line 4.34 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 536 Broad St Ste 5                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 East Weymouth, MA 02189-1395
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 15 of 17
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                         Desc Main
                                                                Document     Page 42 of 71
 Debtor 1 Kilroy, Timothy John                                                                           Case number (if know)        1:18-bk-12764
 Ky Higher Education Sl                                     Line 4.21 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 24328                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40224-0328
                                                            Last 4 digits of account number                    9499
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Ky Higher Education Sl                                     Line 4.22 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 24328                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40224-0328
                                                            Last 4 digits of account number                    9599
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Lendingclub Corporat                                       Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 71 Stevenson St Ste 300                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Francisco, CA 94105-2985
                                                            Last 4 digits of account number                    6134
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Loandepot                                                  Line 4.26 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 77404                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Ewing, NJ 08628-6404
                                                            Last 4 digits of account number                    9336
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 LTD Financial Services, L.P.                               Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 7322 Southwest Fwy Ste 1600                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77074-2134
                                                            Last 4 digits of account number                    5224
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's/dsnb                                                Line 4.35 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 8218                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Mason, OH 45040-8218
                                                            Last 4 digits of account number                    2250
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Prosper Marketplace In                                     Line 4.31 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 101 2nd St Fl 15                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 San Francisco, CA 94105-3672
                                                            Last 4 digits of account number                    3741
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Solomon & Solomon,Pc                                       Line 2.2 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5 Columbia Cir                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Albany, NY 12203-5180
                                                            Last 4 digits of account number                    2409
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/amazon Plcc                                          Line 4.32 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 965015                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5015
                                                            Last 4 digits of account number                    9353
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Thd/Cbna                                                   Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 6497                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117-6497
                                                            Last 4 digits of account number                    4823
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Thd/Cbna                                                   Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 6497                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117-6497
                                                            Last 4 digits of account number                    3047
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 16 of 17
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                Case 18-12764                   Doc 60           Filed 09/14/18 Entered 09/14/18 16:22:47                                        Desc Main
                                                                  Document     Page 43 of 71
 Debtor 1 Kilroy, Timothy John                                                                             Case number (if know)        1:18-bk-12764
 The Collection Law Group                                    Line 4.7 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 630 Freedom Business Center Dr                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Ste 300
 King of Prussia, PA 19406
                                                             Last 4 digits of account number                      0026
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank Nv NA                                      Line 4.36 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 94435                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Albuquerque, NM 87199-4435
                                                             Last 4 digits of account number                      0001

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    1,856.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    1,856.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                 280,445.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                 280,445.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 17 of 17
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                   Case 18-12764                 Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                        Desc Main
                                                                    Document     Page 44 of 71
              Fill in this information to identify your case:

 Debtor 1                 Timothy John Kilroy
                          First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      40 Hutchinson Road Realty Trust                                           Residential Lease
              59 Union Sq
              Somerville, MA 02143-3032




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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                   Case 18-12764                    Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                 Desc Main
                                                                       Document     Page 45 of 71
              Fill in this information to identify your case:

 Debtor 1                   Timothy John Kilroy
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
      Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         AdChemix                                                                               Schedule D, line
                40 Hutchinson Rd                                                                      Schedule E/F, line       4.7
                Arlington, MA 02474-1901
                                                                                                       Schedule G
                                                                                                      Bluevine, Inc.



    3.2         AdChemix                                                                               Schedule D, line
                40 Hutchinson Rd                                                                      Schedule E/F, line       4.16
                Arlington, MA 02474-1901
                                                                                                       Schedule G
                                                                                                      Dealstruck LLC d/b/a MyBusinessLoans.com



    3.3         AdChemix                                                                               Schedule D, line
                40 Hutchinson Rd                                                                      Schedule E/F, line       4.20
                Arlington, MA 02474-1901                                                               Schedule G
                                                                                                      Fundbox




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 2
Software Copyright (c) 2018 CINGroup - www.cincompass.com
               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                Desc Main
                                                             Document     Page 46 of 71
 Debtor 1 Kilroy, Timothy John                                                       Case number (if known)   1:18-bk-12764


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.4      AdChemix                                                                      Schedule D, line
             40 Hutchinson Rd                                                             Schedule E/F, line        4.23
             Arlington, MA 02474-1901
                                                                                           Schedule G
                                                                                          Kris Coward



    3.5      AdChemix                                                                      Schedule D, line
             40 Hutchinson Rd                                                             Schedule E/F, line        4.24
             Arlington, MA 02474-1901
                                                                                           Schedule G
                                                                                          Lending Club Corp



    3.6      AdChemix                                                                      Schedule D, line
             40 Hutchinson Rd                                                             Schedule E/F, line        4.25
             Arlington, MA 02474-1901
                                                                                           Schedule G
                                                                                          Leon Newhart



    3.7      AdChemix                                                                      Schedule D, line
             40 Hutchinson Rd                                                             Schedule E/F, line        4.29
             Arlington, MA 02474-1901
                                                                                           Schedule G
                                                                                          MyBusinessLoans.com



    3.8      Julia C. Kelahan                                                              Schedule D, line
             40 Hutchinson Rd                                                             Schedule E/F, line        4.1
             Arlington, MA 02474-1901
                                                                                           Schedule G
                                                                                          40 Hutchinson Road Realty Trust



    3.9      Julia Kelahan                                                                 Schedule D, line
             40 Hutchinson Rd                                                              Schedule E/F, line
             Arlington, MA 02474-1901                                                     Schedule G    2.1
                                                                                          40 Hutchinson Road Realty Trust




Official Form 106H                                                    Schedule H: Your Codebtors                                Page 2 of 2
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                  Case 18-12764             Doc 60        Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                           Document     Page 47 of 71


Fill in this information to identify your case:

Debtor 1                      Timothy John Kilroy

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF MASSACHUSETTS, BOSTON
                                              DIVISION

Case number               1:18-bk-12764                                                                    Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00              $       N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
             Case 18-12764              Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                     Desc Main
                                                        Document     Page 48 of 71

Debtor 1    Kilroy, Timothy John                                                                    Case number (if known)    1:18-bk-12764


                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
      5e.    Insurance                                                                       5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               N/A
      5g.    Union dues                                                                      5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $      9,168.18         $               N/A
      8b. Interest and dividends                                                             8b.        $          0.00         $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00     $               N/A
      8e.    Social Security                                                                 8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          9,168.18         $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            9,168.18 + $             N/A = $           9,168.18
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:    Contribution from Spouse                                                                                           11.      +$         1,318.77

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $      10,486.95
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
     Yes. Explain: Mr. Kilroy is self employed and not in a traditional employer-employee relationship. Accordingly,
                              his income and expenses are subject to vary greatlly and are hightly unpredictable.




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
             Case 18-12764                Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                    Desc Main
                                                           Document     Page 49 of 71


Fill in this information to identify your case:

Debtor 1                Timothy John Kilroy                                                                  Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MASSACHUSETTS, BOSTON                                          MM / DD / YYYY
                                          DIVISION

Case number           1:18-bk-12764
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Son                                  15              Yes
                                                                                                                                         No
                                                                                   Daughter                             14              Yes
                                                                                                                                         No
                                                                                   Daughter                             12              Yes
                                                                                                                                         No
                                                                                   Son                                  8               Yes
                                                                                                                                         No
                                                                                   Son                                  8               Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           6,500.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                           60.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                            0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00
Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case 18-12764       Doc 60   Filed 09/14/18 Entered 09/14/18 16:22:47                    Desc Main
                                         Document     Page 50 of 71

Debtor 1    Kilroy, Timothy John                                         Case number (if known)   1:18-bk-12764




Official Form 106J                           Schedule J: Your Expenses                                            page 2
           Case 18-12764                  Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                      Desc Main
                                                           Document     Page 51 of 71

Debtor 1     Kilroy, Timothy John                                                                      Case number (if known)       1:18-bk-12764

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              590.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               150.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              382.00
      6d. Other. Specify: Television - streaming                                               6d. $                                                60.00
7.    Food and housekeeping supplies                                                             7. $                                            2,200.00
8.    Childcare and children’     s education costs                                              8. $                                              450.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              250.00
10.   Personal care products and services                                                      10. $                                               750.00
11.   Medical and dental expenses                                                              11. $                                               400.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               260.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               400.00
14.   Charitable contributions and religious donations                                         14. $                                                30.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                75.00
      15b. Health insurance                                                                   15b. $                                             1,687.00
      15c. Vehicle insurance                                                                  15c. $                                               191.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               450.00
      17b. Car payments for Vehicle 2                                                         17b. $                                               634.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                             3,111.02
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                               300.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
21.   Other: Specify:        Children - Horseback Lessons                                      21. +$                                              800.00
      Children - Baseball                                                                           +$                                             500.00
      Children - Piano                                                                              +$                                             250.00
      Children - Pool                                                                               +$                                              90.00
      Pet Care                                                                                      +$                                             200.00
      Haircuts                                                                                      +$                                             350.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                     21,120.02
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                     21,120.02
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                             10,486.95
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                            21,120.02

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -10,633.07

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 3
                  Case 18-12764           Doc 60        Filed 09/14/18 Entered 09/14/18 16:22:47                           Desc Main
                                                         Document     Page 52 of 71


      Fill in this information to identify your case:

Debtor 1                    Timothy John Kilroy
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

Case number              1:18-bk-12764
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Timothy J. Kilroy                                             X
             Timothy John Kilroy                                               Signature of Debtor 2
             Signature of Debtor 1

             Date       September 14, 2018                                     Date
                   Case 18-12764               Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                Desc Main
                                                                  Document     Page 53 of 71


            Fill in this information to identify your case:

 Debtor 1                 Timothy John Kilroy
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until             Wages, commissions,                        $51,969.76          Wages, commissions,
 the date you filed for bankruptcy:              bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                            Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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               Case 18-12764                   Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                                Document     Page 54 of 71
 Debtor 1     Kilroy, Timothy John                                                                        Case number (if known)   1:18-bk-12764


                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income           Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.       (before deductions
                                                                                   exclusions)                                               and exclusions)

                                                  Wages, commissions,                              $18.00        Wages, commissions,
                                                 bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                            Operating a business

 For last calendar year:                         Wages, commissions,                        $127,237.91          Wages, commissions,
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                 bonuses, tips
                                                  Operating a business                                           Operating a business

                                                  Wages, commissions,                       $179,283.40          Wages, commissions,
                                                 bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                            Operating a business

                                                  Wages, commissions,                            $357.00         Wages, commissions,
                                                 bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                            Operating a business

 For the calendar year before that:              Wages, commissions,                        $151,013.54          Wages, commissions,
 (January 1 to December 31, 2016 )                                                                               bonuses, tips
                                                 bonuses, tips
                                                  Operating a business                                           Operating a business

                                                  Wages, commissions,                        $11,000.00          Wages, commissions,
                                                 bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                            Operating a business

                                                  Wages, commissions,                            $347.88         Wages, commissions,
                                                 bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income from             Sources of income           Gross income
                                                 Describe below.                   each source                   Describe below.             (before deductions
                                                                                   (before deductions and                                    and exclusions)
                                                                                   exclusions)
 From January 1 of current year until            Rent - 9 Library                               $9,558.80
 the date you filed for bankruptcy:              Street, Dryden NY

 For last calendar year:                         Rent - 9 Library                             $28,800.00
 (January 1 to December 31, 2017 )               Street, Dryden NY




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2

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               Case 18-12764                   Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                 Desc Main
                                                                Document     Page 55 of 71
 Debtor 1     Kilroy, Timothy John                                                                        Case number (if known)   1:18-bk-12764


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)
 For the calendar year before that:               Rent - 9 Library                            $24,000.00
 (January 1 to December 31, 2016 )                Street, Dryden NY


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                            Nature of the case           Court or agency                          Status of the case
       Case number



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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               Case 18-12764                   Doc 60           Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                                 Document     Page 56 of 71
 Debtor 1     Kilroy, Timothy John                                                                         Case number (if known)   1:18-bk-12764


       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number
       Velocity Investments Llc V Kilroy                      Loan Default                 Cambridge District Court                    Pending
       1752Cv000417                                                                        4040 Mystic Valley Pkwy                     On appeal
                                                                                           Medford, MA 02155-6918                    Concluded

       In re Timothy J. Kilroy                                Chapter 13                   US Bankruotcy Court -                       Pending
       17-14054                                               Bankruptcy                   Mass Eastern                                On appeal
                                                                                           5 Post Office Sq                          Concluded
                                                                                           Boston, MA 02109-3901

       40 Hutchinson Road Realty Trust                        Summary                      Massachusetts Housing                     Pending
       v. Timothy Kilroy & Julia Kelahan                      Process                      Court- Eastern Div                          On appeal
       18H84SP002931                                                                       24 New Chardon St
                                                                                                                                       Concluded
                                                                                           Boston, MA 02114-4703


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened
       Ma Department Of Revenue                               Tax Garnish                                                    08/31/2017                     $226.30
       P.o. Box 7002
       Boston, MA 02204                                        Property was repossessed.
                                                               Property was foreclosed.
                                                               Property was garnished.
                                                               Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
     No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken
       Bank of America                                        took money - closed account                                    May 2018                       $312.50
       100 N Tryon St # 170                                   Last 4 digits of account number:
       Charlotte, NC 28202-4024


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per               Describe the gifts                                       Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4

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               Case 18-12764                   Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                                  Document     Page 57 of 71
 Debtor 1     Kilroy, Timothy John                                                                        Case number (if known)   1:18-bk-12764


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                         Dates you                      Value
       more than $600                                                                                                       contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                    Date of your        Value of property
       how the loss occurred                                                                                                loss                             lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or            Amount of
       Address                                                        transferred                                           transfer was                payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       Richardson & Cumbo, LLP                                        Attorney's Fees                                       October 2017               $3,500.00
       225 Franklin St Fl 26
       Boston, MA 02110-2853


       Richardson & Cumbo, LLP                                        Attorney's Fees                                       July 2018                  $2,000.00
       225 Franklin St Fl 26
       Boston, MA 02110-2853


       $0$ BK Class Inc.                                              Credit Counseling Class                               10/30/2017                   $24.00
       PO Box 1004
       Higley, AZ 85236-1004


       $0$ BK Class Inc.                                              Credit Counseling Class                               08/03/2018                   $24.00
       PO Box 1004
       Higley, AZ 85236-1004


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or            Amount of
       Address                                                        transferred                                           transfer was                payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5

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                Case 18-12764                  Doc 60           Filed 09/14/18 Entered 09/14/18 16:22:47                                Desc Main
                                                                 Document     Page 58 of 71
 Debtor 1      Kilroy, Timothy John                                                                        Case number (if known)   1:18-bk-12764


      gifts and transfers that you have already listed on this statement.
       No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or       Date transfer was
       Address                                                      property transferred                       payments received or debts     made
                                                                                                               paid in exchange
       Person's relationship to you
       unknown 3rd party                                            Sony SONOS soundbar (TV                    Received $75.00 cash           June 2018
                                                                    audio system) for $75.00

       stranger


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of             Type of account or          Date account was       Last balance before
       Address (Number, Street, City, State and ZIP           account number               instrument                  closed, sold,           closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       Bank of Amercia                                        XXXX-                        Checking                   June 2018                           $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       Capital One                                            XXXX-2840                     Checking                  May 2018                            $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                           Brokerage
                                                                                            Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                         have it?
                                                                    and ZIP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6

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               Case 18-12764                   Doc 60          Filed 09/14/18 Entered 09/14/18 16:22:47                                    Desc Main
                                                                Document     Page 59 of 71
 Debtor 1     Kilroy, Timothy John                                                                            Case number (if known)   1:18-bk-12764


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                    Who else has or had access                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)          to it?                                                                          have it?
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case                   Status of the
       Case Number                                                 Name                                                                            case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7

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                Case 18-12764                        Doc 60      Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                                  Document     Page 60 of 71
 Debtor 1      Kilroy, Timothy John                                                                         Case number (if known)   1:18-bk-12764


              A partner in a partnership
             An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                          Describe the nature of the business               Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Timothy J. Kilroy (TShirt                              Internet T-Shirt Sales                            EIN:
        Business)
        40 Hutchinson Rd                                                                                         From-To
        Arlington, MA 02474-1901

        Timothy J. Kilory (Digital                                                                               EIN:
        Marketing Con
        40 Hutchinson Rd                                                                                         From-To
        Arlington, MA 02474-1901

        Adchemix, Inc.                                         Advertising Technology                            EIN:         XX-XXXXXXX
        40 Hutchinson Road
        Arlington, MA 02474                                    None                                              From-To      03/08/2017


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                   Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Nationstar Mortgage
        8950 Cypress Waters Boulevard
        Coppell, TX 75019

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Timothy J. Kilroy
 Timothy John Kilroy                                                     Signature of Debtor 2
 Signature of Debtor 1

 Date      September 14, 2018                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8

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                   Case 18-12764               Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                         Desc Main
                                                                  Document     Page 61 of 71

              Fill in this information to identify your case:

 Debtor 1                 Timothy John Kilroy
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:18-bk-12764
 (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Bank of America                                     Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                          Retain the property and enter into a Reaffirmation    Yes
    Description of       2013 Fiat 500 500 Abarth                           Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:



    Creditor's         Nationstar Mortgage                                Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of       9 Library Street, Dryden, NY                       Agreement.
    property             13053                                             Retain the property and [explain]:
    securing debt:



    Creditor's         Santander Consumer USA                              Surrender the property.                              No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                          Retain the property and enter into a Reaffirmation     Yes
                         2016 Nissan NV200 Cargo Van                        Agreement.
    property                                                               Retain the property and [explain]:

Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 1

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               Case 18-12764                   Doc 60         Filed 09/14/18 Entered 09/14/18 16:22:47                                Desc Main
                                                               Document     Page 62 of 71

 Debtor 1      Kilroy, Timothy John                                                                 Case number (if known)    1:18-bk-12764

     securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                            Will the lease be assumed?

 Lessor's name:              40 Hutchinson Road Realty Trust                                                                    No

                                                                                                                              Yes
 Description of leased       Residential Lease
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Timothy J. Kilroy                                                      X
       Timothy John Kilroy                                                            Signature of Debtor 2
       Signature of Debtor 1

       Date        September 14, 2018                                             Date




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                       page 2

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                   Case 18-12764               Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                                  Document     Page 63 of 71

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Timothy John Kilroy
 Debtor 2
 (Spouse, if filing)
                                                                                                      1. There is no presumption of abuse
                                                  District of Massachusetts, Boston
                                                                                                       2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:          Division                                                   applies will be made underChapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           1:18-bk-12764                                                                   3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                       0.00      $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                       0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                      $            7,071.51
        Ordinary and necessary operating expenses                  -$             -754.96
        Net monthly income from a business,                                                   Copy
        profession, or farm                                         $            6,316.55 here -> $              6,316.55         $              0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                      $            1,593.13
        Ordinary and necessary operating expenses                  -$           -3,111.00
        Net monthly income from rental or other real                                          Copy
        property                                                    $                 0.00 here -> $                   0.00      $               0.00
                                                                                                        $              0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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                Case 18-12764                  Doc 60            Filed 09/14/18 Entered 09/14/18 16:22:47                                  Desc Main
                                                                  Document     Page 64 of 71
 Debtor 1     Kilroy, Timothy John                                                                        Case number (if known)    1:18-bk-12764


                                                                                                      Column A                      Column B
                                                                                                      Debtor 1                      Debtor 2 or
                                                                                                                                    non-filing spouse
  8. Unemployment compensation                                                                        $                 0.00        $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                   0.00
            For your spouse                                           $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act.                                                             $                      0.00        $           0.00
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
              . Spouse's Income                                                                  $                      0.00        $         642.33
                  See Attached Detail                                                                 $                 0.00        $           0.00
                  Total amounts from separate pages, if any.                                     +    $                 0.00        $         678.93
  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       6,316.55          +   $       1,321.26    =    $      7,637.81

                                                                                                                                                    Total current monthly
                                                                                                                                                    income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:

       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>             $          7,637.81

              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                    12b. $         91,653.72

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   MA

       Fill in the number of people in your household.                         7
       Fill in the median family income for your state and size of household.                                                    13.            $       149,064.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Timothy J. Kilroy
                Timothy John Kilroy
                Signature of Debtor 1
        Date September 14, 2018
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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                                                                               Case 18-12764          Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47             Desc Main
                                                                                                                    Document     Page 65 of 71
                                                                                                                 United States Bankruptcy Court
                                                                                                             District of Massachusetts, Boston Division

                                                                   IN RE:                                                                                 Case No. 1:18-bk-12764
                                                                   Kilroy, Timothy John                                                                   Chapter 7
                                                                                                            Debtor(s)

                                                                                                              BUSINESS INCOME AND EXPENSES
                                                                   FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                   operation.)

                                                                   PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                     1. Gross Income For 12 Months Prior to Filing:                                       $       207,489.02

                                                                   PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                     2. Gross Monthly Income:                                                                                  $    8,661.13

                                                                   PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                     3.   Net Employee Payroll (Other Than Debtor)                                        $
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                                                                     4.   Payroll Taxes                                                                   $
                                                                     5.   Unemployment Taxes                                                              $
                                                                     6.   Worker’s Compensation                                                           $
                                                                     7.   Other Taxes                                                                     $
                                                                     8.   Inventory Purchases (Including raw materials)                                   $
                                                                     9.   Purchase of Feed/Fertilizer/Seed/Spray                                          $
                                                                    10.   Rent (Other than debtor’s principal residence)                                  $
                                                                    11.   Utilities                                                                       $           122.42
                                                                    12.   Office Expenses and Supplies                                                    $           382.93
                                                                    13.   Repairs and Maintenance                                                         $
                                                                    14.   Vehicle Expenses                                                                $
                                                                    15.   Travel and Entertainment                                                        $           392.08
                                                                    16.   Equipment Rental and Leases                                                     $
                                                                    17.   Legal/Accounting/Other Professional Fees                                        $           200.00
                                                                    18.   Insurance                                                                       $
                                                                    19.   Employee Benefits (e.g., pension, medical, etc.)                                $
                                                                    20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                          Business Debts (Specify):                                                       $




                                                                    21. Other (Specify):                                                                  $           795.52
                                                                          See Continuation Sheet




                                                                    22. Total Monthly Expenses (Add items 3-21)                                                                $    1,892.95

                                                                   PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                    23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                              $    6,768.18
                                                                             Case 18-12764          Doc 60     Filed 09/14/18 Entered 09/14/18 16:22:47            Desc Main
                                                                                                                Document     Page 66 of 71
                                                                   IN RE Kilroy, Timothy John                                                        Case No. 1:18-bk-12764
                                                                                                             Debtor(s)

                                                                                                         BUSINESS INCOME AND EXPENSES
                                                                                                                  Continuation Sheet - Page 1 of 1

                                                                   Other:
                                                                   Web hosting (t shirt business)                         30.81
                                                                   Marketing/Advertising                                 151.49
                                                                   Printing                                               16.93
                                                                   Licenses/Permits                                       52.13
                                                                   Other Business                                        544.16
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               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                       Desc Main
                                                             Document     Page 67 of 71
      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                         Desc Main
                                                             Document     Page 68 of 71


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                         Desc Main
                                                             Document     Page 69 of 71
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3

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               Case 18-12764                   Doc 60       Filed 09/14/18 Entered 09/14/18 16:22:47                       Desc Main
                                                             Document     Page 70 of 71
                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

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                                                                               Case
                                                                   B201B (Form 201B)    18-12764
                                                                                     (12/09)           Doc 60        Filed 09/14/18 Entered 09/14/18 16:22:47                         Desc Main
                                                                                                                      Document     Page 71 of 71
                                                                                                                    United States Bankruptcy Court
                                                                                                               District of Massachusetts, Boston Division

                                                                   IN RE:                                                                                            Case No. 1:18-bk-12764
                                                                   Kilroy, Timothy John                                                                              Chapter 7
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Kilroy, Timothy John                                                   X /s/ Timothy J. Kilroy                                      9/14/2018
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known) 1:18-bk-12764                                      X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
